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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    TREMAINE CARROLL,                                  No. 1:23-cv-00974 NODJ GSA (PC)
12                       Plaintiff,                      ORDER VACATING FINDINGS AND
                                                         RECOMMENDATIONS ISSUED AUGUST
13           v.                                          28, 2023
14    STATE OF CALIFORNIA, et al.,                       (ECF No. 11)
15                       Defendants.                     ORDER DISREGARDING MOTION FOR
                                                         RECONSIDERATION OF IN FORMA
16                                                       PAUPERIS, EXTENSION OF TIME,
                                                         INJUNCTIVE RELIEF
17
                                                         (ECF No. 13)
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19
            Plaintiff, a state prisoner proceeding in forma pauperis, has filed this civil rights action
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     seeking relief under 42 U.S.C. § 1983. Plaintiff is represented by counsel. The matter was
21
     referred to a United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule
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     302.
23
            Before this Court is its outstanding order recommending that this matter be dismissed for
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     failure to comply with a court order, and Plaintiff’s motion for reconsideration. ECF Nos. 11, 13,
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     respectively. For the reasons stated below, the outstanding order recommending that this matter
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     be dismissed will be vacated. In addition, Plaintiff’s motion for reconsideration will be
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     disregarded.
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                                                        1
     Case 1:23-cv-00974-NODJ-GSA Document 17 Filed 12/20/23 Page 2 of 3


 1           I.    PENDING FINDINGS AND RECOMMENDATIONS ORDER

 2           On August 28, 2023, the Court issued an order recommending that this matter be

 3   dismissed because Plaintiff had neither paid the filing fee nor filed an application to proceed in

 4   forma pauperis. ECF No. 11. Since then, Plaintiff has filed a properly completed in forma

 5   pauperis application and has been granted in forma pauperis status. ECF Nos. 12, 14.

 6   Consequently, the pending findings and recommendations order is moot. Therefore, it will be

 7   vacated.

 8           II.   MOTION FOR RECONSIDERATION

 9           On November 11, 2023, Plaintiff filed a motion for reconsideration. ECF No. 13. The

10   motion, which is handwritten and signed by Plaintiff, and was not filed by counsel.1 See id. The

11   motion also appears to request an extension of time to file an in forma pauperis application as

12   well as injunctive relief. Id.

13           Because Plaintiff is represented by counsel, and in order to eliminate confusion and the

14   filing of conflicting documents, absent exigent circumstances, going forward the Court will only

15   consider filings docketed by Plaintiff’s counsel. Accordingly, Plaintiff’s motion for

16   reconsideration and all requests in it will be disregarded as improperly filed.

17           Accordingly, IT IS HEREBY ORDERED that:

18           1. The findings and recommendations order issued August 28, 2023 (ECF No. 11), is

19   hereby VACATED, and

20           2. Plaintiff’s motion for reconsideration (ECF No. 13) is DISREGARDED for the
21   reasons stated above.

22
     IT IS SO ORDERED.
23

24       Dated:    December 19, 2023                                /s/ Gary S. Austin
                                                      UNITED STATES MAGISTRATE JUDGE
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     1
      On the caption page of the motion, it identifies several other cases Plaintiff has before this
28   Court. See ECF No. 13 at 1.
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     Case 1:23-cv-00974-NODJ-GSA Document 17 Filed 12/20/23 Page 3 of 3


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